568 F.2d 204
    106 L.R.R.M. (BNA) 2603, 84 Lab.Cas.  P 10,645
    Columbus-Foundries, Inc.v.N. L. R. B.***
    No. 77-2012
    United States Court of Appeals, Fifth Circuit
    1/27/78
    
      1
      N.L.R.B.
    
    ENFORCED
    
      
        *
         Summary Calendar case; Rule 18, 5 Cir., see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409
      
      
        **
         Local Rule 21 case; see NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
    
    